Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 1 of 27 Page ID #:1264
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 2 of 27 Page ID #:1265
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 3 of 27 Page ID #:1266
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 4 of 27 Page ID #:1267
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 5 of 27 Page ID #:1268
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 6 of 27 Page ID #:1269
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 7 of 27 Page ID #:1270
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 8 of 27 Page ID #:1271
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 9 of 27 Page ID #:1272
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 10 of 27 Page ID #:1273
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 11 of 27 Page ID #:1274
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 12 of 27 Page ID #:1275
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 13 of 27 Page ID #:1276
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 14 of 27 Page ID #:1277
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 15 of 27 Page ID #:1278
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 16 of 27 Page ID #:1279
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 17 of 27 Page ID #:1280
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 18 of 27 Page ID #:1281
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 19 of 27 Page ID #:1282
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 20 of 27 Page ID #:1283
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 21 of 27 Page ID #:1284
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 22 of 27 Page ID #:1285
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 23 of 27 Page ID #:1286
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 24 of 27 Page ID #:1287
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 25 of 27 Page ID #:1288
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 26 of 27 Page ID #:1289
Case 8:11-cv-00643-JLS-FMO Document 60 Filed 05/23/11 Page 27 of 27 Page ID #:1290
